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 5
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 6

 7                                 UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF CALIFORNIA
 8
                                                          Case No.
 9

10                                                        COMPLAINT FOR DAMAGES
      KELLY WHEELER,
11                                                        1. VIOLATION OF THE FAIR DEBT
                         Plaintiff,
                                                          COLLECTION PRACTICES ACT, 15
12                                                        U.S.C. §1692 ET SEQ.
              v.
13                                                        2. VIOLATION OF THE ROSENTHAL
      FINANCIAL CREDIT NETWORK,
14                                                        FAIR DEBT COLLECTION PRACTICES
                         Defendant.                       ACT, CAL. CIV. CODE § 1788 ET SEQ.
15
                                                          JURY TRIAL DEMANDED
16
            NOW COMES, KELLY WHEELER, through counsel, WAJDA LAW GROUP, APC,
17

18   complaining of FINANCIAL CREDIT NETWORK, as follows:

19                                    NATURE OF THE ACTION

20          1.      This action arises under the Fair Debt Collection Practices Act (the “FDCPA”), 15
21
     U.S.C. § 1692 et seq., and the Rosenthal Fair Debt Collection Practices Act (the “RFDCPA”), Cal.
22
     Civ. Code § 1788 et seq.
23
                                      JURISDICTION AND VENUE
24
            2.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.
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26          3.      This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

27          4.      Venue in this district is proper under 28 U.S.C. § 1391(b)(1).
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                                                      1
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 1                                                PARTIES
 2            5.     KELLY D. WHEELER (“Plaintiff”) is a natural person, over 18-years-of-age, who
 3
     at all times relevant resided in Los Angeles, California.
 4
              6.     Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
 5
              7.     Plaintiff is a “debtor” as defined by Cal. Civ. Code § 1788.2(h).
 6

 7            8.     FINANCIAL CREDIT NETWORK (“FCN”) is a corporation organized under the

 8   laws of California.

 9            9.     FCN has its principal place of business at 1300 West Main Street, Visalia, California
10
     93291.
11
              10.    FCN is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as the principal
12
     purpose of FCN’s business is the collection of debt.
13
              11.    FCN is a “debt collector” as defined by 15 U.S.C. § 1692a(6) as it regularly collects
14

15   or attempts to collect debts owed or due or asserted to be owed or due another.

16            12.    FCN is a “debt collector” as defined by Cal. Civ. Code § 1788.2(c).
17                                     FACTUAL ALLEGATIONS
18
              13.    Plaintiff resided at 700 Micheltorena Street, Los Angeles, California 90026.
19
              14.    Plaintiff had a Southern California Gas (“SoCalGas”) account in her name when she
20
     lived at that location.
21

22            15.    Plaintiff subsequently moved.

23            16.    Prior to moving, however, Plaintiff had accumulated a $202.29 SoCalGas debt.

24            17.    Due to its inability to collect the entire amount owed, SoCalGas referred Plaintiff’s
25   outstanding account to FCN for collection.
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 1          18.      Plaintiff’s $202.29 account balance is a “debt” as defined by 15 U.S.C. § 1692a(5)
 2   as it relates to an unpaid obligation to pay money arising out of a transaction in which the money
 3
     which is the subject of the transaction is primarily for personal, family, or household purposes.
 4
            19.      Plaintiff’s $202.29 account balance is a “debt” as defined by Cal. Civ. Code. §
 5
     1788.2(d) as it relates to money which is due or owing or alleged to be due or owing from a natural
 6

 7   person to another person.

 8          20.      Plaintiff’s $202.29 account balance is a “consumer debt” as defined by Cal. Civ.

 9   Code § 1788.2(f) as it relates to money due or owing from a natural person by reason of a consumer
10
     credit transaction.
11

12          21.      On October 3, 2019, FCN sent Plaintiff an initial written communication (the

13   “Letter”).

14          22.      The letter is a “communication” as defined by 15 U.S.C. § 1692(a)(2) as it conveys
15
     information regarding Plaintiff’s outstanding account directly to Plaintiff.
16
            23.      The letter stated, in part:
17
             Date: 10/03/19                                                      Principal:   $202.29
18           FCN Account #: 10853425                         Interest/Late Payment Charge:      $0.00
             Client Account #: 0515018805                                       Total Due:    $202.29
19           Credtor: SOUTHERN CALIFORNIA GAS
             Service/Property Address: 700 Micheltorena St
20

21          24.      The phrase “Interest/Late Payment Charge” along with an amount of “$0.00” listed

22   implied to Plaintiff that Plaintiff could incur additional charges.

23          25.      FCN did not however intend to assess interest.
24
            26.      FCN did not however intend to assess late payment charges.
25
            27.      Nor was FCN permitted to assess interest or late payment charges.
26
            28.      FCN’s letter caused enough confusion/uncertainty to lead Plaintiff to question
27
     whether Plaintiff would incur additional charges if he did not pay the debt.
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 1                                        CLAIMS FOR RELIEF
 2                                             COUNT I:
                       Fair Debt Collection Practices Act (15 U.S.C. § 1692 et seq.)
 3

 4          29.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

 5   though fully set forth herein.

 6                                    Violation(s) of 15 U.S.C. § 1692e
 7          30.     Section 1692e provides prohibits a debt collector from using “any false, deceptive,
 8
     or misleading representation or means in connection with the collection of any debt.” 15 U.S.C. §
 9
     1692e. The subsections of section 1692e, without limiting its general application, list specific
10
     conduct which violates the section. Id.
11

12          31.     “A dunning letter is false and misleading if it impl[ies] that certain outcomes might

13   befall a delinquent debtor when, legally, those outcomes cannot come to pass.” Boucher v. Fin.

14   Sys. of Green Bay, Inc., 880 F.3d 362, 367 (7th Cir. 2018) (holding that a letter falsely implying that
15
     late and other charges could be charged to a debtor violated § 1692e).
16
            32.     “A misrepresentation is material if it ‘undermined [the plaintiff’s] ability to
17
     intelligently choose her action regarding the debt.’” Caulfield v. Am. Account & Advisors, 2013
18
     U.S. Dist. LEXIS 66935, 2013 WL 1953314, at *2 (D. Minn. 2016).
19

20          33.      FCN’s letter violated 15 U.S.C. § 1692e because it falsely implied that additional

21   charges could be added by including column headers that included – “Interest/Late Payment
22   Charge.”
23
            34.     Plaintiff believed that he would incur other charges if he did not pay the debt.
24
            35.     FCN had no basis for assessing interest/late payment charges, and never intended to
25
     actually assess interest/late payment charges – rather, FCN included this in an attempt to induce
26

27   Plaintiff to pay his balance to avoid added debt.

28          36.     Plaintiff may enforce the provisions of 15 U.S.C. § 1692e pursuant to section k of
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 1   the FDCPA (15 U.S.C. § 1692k) which provides "any debt collector who fails to comply with any
 2   provision of [the FDCPA] with respect to any person is liable to such person in an amount equal to
 3
     the sum of -
 4
            (1)     any actual damage sustained by such person as a result of such failure;
 5
            (2)
 6

 7                  (A)     in the case of any action by an individual, such additional damages
                            as the court may allow, but not exceeding $1,000.00; or
 8
            (3)     in the case of any successful action to enforce the foregoing liability, the
 9                  costs of the action, together with reasonable attorney's fees as determined by
                    the court.
10

11          WHEREFORE, Plaintiff requests the following relief:

12          A.      a finding that FCN violated 15 U.S.C. § 1692e;

13          B.      an award of any actual damages sustained by Plaintiff as a result of FCN’s
14                  violation(s);
15
            C.      an award of such additional damages, as the Court may allow, but not exceeding
16
                    $1,000.00;
17
            D.      an award of costs of this action, together with reasonable attorney’s fees as
18

19                  determined by this Court; and

20          E.      an award of such other relief as this Court deems just and proper.

21                                           COUNT II:
              Rosenthal Fair Debt Collection Practices Act (Cal. Civ. Code § 1788 et seq.)
22

23          37.     All paragraphs of this Complaint are expressly adopted and incorporated herein as

24   though fully set forth herein.
25                                  Violation(s) of Cal. Civ. Code § 1788.17
26
            38.     California Civil Code § 1788.17 provides:
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 1                 Notwithstanding any other provision of this title, every debt collector
                   collecting or attempting to collect a consumer debt shall comply with the
 2                 provisions of Section 1692b to 1692j, inclusive, of, and shall be subject to
 3                 the remedies in Section 1692k of, Title 15 of the United States Code.

 4          39.    As alleged, FCN violated 15 U.S.C. § 1692e; therefore violating Cal. Civ. Code §

 5   1788.17.
 6          40.    Plaintiff may enforce the provisions of Cal. Civ. Code §1788.17 pursuant to Cal.
 7
     Civ. Code § 1788.30 which provides:
 8
            (a)    Any debt collector who violates this title with respect to any debtor shall be
 9                 liable to that debtor only in an individual action, and his liability therein to
                   that debtor shall be in an amount equal to the sum of any actual damages
10                 sustained by the debtor as a result of the violation.
11
            (b)    Any debt collector who willfully and knowingly violates this title with
12                 respect to any debtor shall, in addition to actual damages sustained by the
                   debtor as a result of the violation, also be liable to the debtor only in an
13                 individual action, and his additional liability therein to that debtor shall be
                   for a penalty in such amount as the court may allow, which shall not be less
14                 than one hundred dollars ($100.00) nor greater than one thousand dollars
15                 ($1,000.00).

16          (c)    In the case of any action to enforce any liability under this title, the prevailing
                   party shall be entitled to costs of the action. Reasonable attorney’s fees,
17                 which shall be based on time necessarily expended to enforce the liability,
                   shall be awarded to a prevailing debtor.
18

19          WHEREFORE, Plaintiff requests the following relief:

20          A.     a finding that FCN violated Cal. Civ. Code § 1788.17;
21          B.     an award of any actual damages sustained by Plaintiff as a result of FCN’s
22
                   violation(s);
23
            C.     an award of such additional damages, as the Court may allow, but not exceeding
24
                   $1,000.00;
25

26          D.     an award of costs of this action, together with a reasonable attorney’s fee as

27                 determined by this Court; and

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 1           E.      an award of such other relief as this Court deems just and proper.
 2                                      DEMAND FOR JURY TRIAL
 3
             Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
 4
     this action so triable of right.
 5
     DATED: October 16, 2019                                      Respectfully submitted,
 6

 7                                                                KELLY WHEELER

 8                                                                By: /s/ Nicholas M. Wajda

 9                                                                Nicholas M. Wajda
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